  AO 435          Case 4:18-cv-00161    Document 46 Filed in TXSD on 04/24/18 FOR
                                ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS
                                                                                  Page 1 of 1
                                                                                    COURT USE ONLY
(Rev. 04/18)
                                                                                                                       DUE DATE:
                                                                TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                             2. PHONE NUMBER                    3. DATE
Lynne Liberato                                                                     (713) 547-2017                      4/24/2018
4. '(/,9(5< ADDRESS25(0$,/                                                        5. CITY                            6. STATE           7. ZIP CODE
lynne.liberato@haynesboone.com                                                     Houston                             Texas              77010
8. CASE NUMBER                               9. JUDGE                                                  DATES OF PROCEEDINGS
4:18-cv-00161                                Lynn N. Hughes                         10. FROM 4/19/2018            11. TO 4/19/2018
12. CASE NAME                                                                                        LOCATION OF PROCEEDINGS
Kao Lee Yang v. Charamie Marine, LLC, et al.                                        13. CITY Houston              14. STATE Texas
15. ORDER FOR
u APPEAL                                     u      CRIMINAL                        u   CRIMINAL JUSTICE ACT               u   BANKRUPTCY
u   NON-APPEAL                               u      CIVIL                           u   IN FORMA PAUPERIS                  u   OTHER (Specify)

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                 PORTIONS                                       DATE(S)                         PORTION(S)                            DATE(S)
u   VOIR DIRE                                       April 19, 2018                  u   TESTIMONY (Specify Witness)

u   OPENING STATEMENT (Plaintiff)                   April 19, 2018
u   OPENING STATEMENT (Defendant)                   April 19, 2018
u   CLOSING ARGUMENT (Plaintiff)                    April 19, 2018                  u   PRE-TRIAL PROCEEDING (Spcy)

u   CLOSING ARGUMENT (Defendant)                    April 19, 2018
u   OPINION OF COURT                                April 19, 2018
u   JURY INSTRUCTIONS                                                               u   OTHER (Specify)

u   SENTENCING

u   BAIL HEARING
                                                                               17. ORDER
                            ORIGINAL                                ADDITIONAL
 CATEGORY           (Includes Certified Copy to      FIRST COPY                            NO. OF PAGES ESTIMATE                       COSTS
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                     CERTIFICATION (18. & 19.)
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18. SIGNATURE                                                                       PROCESSED BY
/s/ Lynne Liberato
19. DATE                                                                            PHONE NUMBER
4/24/2018
TRANSCRIPT TO BE PREPARED BY                                                        COURT ADDRESS




                                                        DATE              BY
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DEPOSIT PAID                                                                        DEPOSIT PAID

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